      Case 1-22-41410-jmm              Doc 127       Filed 07/19/24       Entered 07/19/24 11:40:26




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:

FRALEG GROUP, INC.,                                              Chapter 7
                                                                 Case No.: 22-41410-jmm
                                    Debtor.
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              NOTICE OF ABANDONMENT OF PROPERTY OF THE ESTATE

TO:      ALL CREDITORS AND OTHER
         PARTIES IN INTEREST:

        PLEASE TAKE NOTICE, that Richard J. McCord, the Chapter 7 Trustee in the above
referenced matter (the “Trustee”), intends to abandon his right, title and interest in and to various
office equipment, including but not limited to, desk chairs, conference table, leased Cannon Copy
Machine, office supplies, microwave, refrigerator, water cooler, sofa, heater, and the lease for the
premises for the Debtor’s business, located at 45 Main Street, Suite 518, Brooklyn, New York
11201, pursuant to 11 U.S.C. §554, Rule 6007 of the Federal Rules of Bankruptcy Procedure and
E.D.N.Y. Local Rule 6007-1.

         Fraleg Group, Inc. (the “Debtor”) filed a Chapter 11 petition on June 17, 2022. The case
was converted to one under Chapter 7 on December 18, 2023. The Trustee was appointed on
December 19, 2023 pursuant to 11 U.S.C. §702(d). At the time of the bankruptcy filing, the
Debtor had various office equipment, including but not limited to, desk chairs, conference table,
leased Cannon Copy Machine, office supplies, microwave, refrigerator, water cooler, sofa, heater
(“Office Equipment”) located at 45 Main Street, Suite 518, Brooklyn, New York 11201 (the
“Business Premises”). Although not reflected on the Debtor’s bankruptcy petition and schedules,
the Business Premises are leased to the Debtor by 45 Main Associates, LLC (the “Lease”), which
expires on January 31, 2026. The Lease has been reviewed and has no value for the benefit of the
estate. The remaining Office Equipment at the Business Premises has been evaluated and there is
little to no value to the bankruptcy estate. Upon information and belief, there were various
businesses owned by the principals of the Debtor that shared the space at the Business Premises,
but the Lease was in the name of the Debtor.

        Taking into consideration the value of the Office Equipment and the Lease, there is no
equity in same for the Trustee to proceed with a sale. Therefore, it would be in the best interest of
the estate for the Trustee to abandon his right, title and interest in the Office Equipment and Lease
contained at the Business Premises.

       Please take notice that if Objections are filed, a hearing will be held before the Honorable
Jil Mazer-Marino, United States Bankruptcy Judge, in Courtroom 3529 at the United States
Bankruptcy Court for the Eastern District of New York, 271 Cadman Plaza East, Brooklyn, New
York 11201 on August 15, 2024, at 11:00 a.m.
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        Please take further notice, that objections, if any, to the Notice, must be in writing and
filed with the Bankruptcy Court by August 6, 2024 at 10:00 a.m. (the “Objection Deadline”)
through the Court’s electronic fding system. Instructions for electronically filing an objection can
be found at www.nyeb.uscourts.gov. A copy if the objection must also be served, so as to be
received by the Objection Deadline, on: Richard J. McCord, Esq., Chapter 7 Trustee, Certilman
Balin Adler & Hyman, LLP., 90 Merrick Avenue, East Meadow, New York 11554 and the Office
of the United States Trustee, Eastern District of New York, Alexander Hamilton Custom House,
One Bowling Green, Room 510, New York, New York 10004-1408.

        Please take further notice, that you may appear at the hearing in person, by phone or by
videoconference. Those intending to appear at the hearing must register with eCourt Appearances
no later than two days prior to the hearing. The phone number or video link for the hearing will
be emailed only to those that register with the eCourt Appearances in advance of the hearing.
Instruction    for    registering     with   eCourt    Appearances      can    be     found    at
https://www.nveb.uscourts.gOv/node/2126. If you do not have internet access or are otherwise
unable to register with eCourt Appearances, you may call or email Judge Mazer-Marino’s
courtroom deputy for instructions at (347) 394-1844 or JMM Hearings@nyeb.uscourts.gov .

        Please take further notice, that the hearing on the Notice may be adjourned without notice
other than an announcement at the hearing.

      If no objections are filed, a hearing will not be held, and the Office Equipment and
Lease will be deemed abandoned as of August 7, 2024.

Dated: East Meadow, New York
       July 18,2024
                                     CERTILMAN BALIN ADLER & HYMAN, LLP


                                     By:     /s/ Richard J. McCord________________
                                              RICHARD J. MCCORD, ESQ.
                                              Chapter 7 Trustee for the Estate of
                                              Fraleg Group, Inc.
                                              90 Merrick Avenue
                                              East Meadow, New York 11554
                                              Phone: (516) 296-7000




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